          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION

                        CRIMINAL NO. 1:08CR128


UNITED STATES OF AMERICA                 )
                                         )
                                         )
           VS.                           )           ORDER
                                         )
                                         )
GLENDA ALBRIGHT ADAMS                    )
                                         )


     THIS MATTER is before the Court on Defendant’s appeal of the

detention order filed by the Magistrate Judge. See Order, filed February

27, 2009; Motion for Bond Reconsideration, filed March 6, 2009.

     Defendant is charged with one count of conspiracy to possess with

intent to distribute more than 50 grams of cocaine base in violation of 21

U.S.C. §§ 841(a)(1) and 846. See Indictment, filed December 3, 2008.

On January 13, 2009, Defendant was arrested and appeared before the

Magistrate Judge for an initial appearance the following day. Defendant

was later released on a $25,000 unsecured bond. See Order Setting

Conditions of Release, filed January 29, 2009.




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      One of the conditions of her release required Defendant to participate

in the CHAMPS drug treatment program when a bed became available. Id.

at 2. Subsequently, Defendant entered into a plea agreement with the

Government and entered her plea on February 25, 2009. After the Rule 11

hearing, the Magistrate Judge revoked the conditions of pretrial release

and ordered Defendant detained pending sentencing. Order, filed

February 27, 2009. This appeal follows.

      The Mandatory Detention Act of 1990 requires that defendants found

guilty of certain categories of offenses involving controlled substances be

detained pending sentencing. There are three exceptions to this mandatory

detention. See 18 U.S.C. § 3143(a)(2); United States v. Goforth, 546

F.3d 712, 713-714 (4th Cir. 2008). Defendant contends that release is

appropriate under 18 U.S.C. § 3145(c). Motion for Bond

Reconsideration, supra, at 1. This section provides that a “person subject

to detention pursuant to section 3143(a)(2) or (b)(2), and who meets the

conditions of release set forth in section 3143(a)(1) or (b)(1), may be

ordered released, under appropriate conditions, by the judicial officer, if it is

clearly shown that there are exceptional reasons why such person’s

detention would not be appropriate.” 18 U.S.C. § 3145(c).



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      Courts considering the meaning of “exceptional reasons” have

generally concluded that a defendant must present circumstances that are

“clearly out of the ordinary, uncommon or rare.” United States v. Larue,

478 F.3d 924, 926 (8th Cir. 2007) (rejecting defendant’s argument that

complying with pretrial release terms, a lack of criminal history, child

support obligations, and continued employment represent

exceptional reasons); see also United States v. Lea, 360 F.3d 401, 403

(2d Cir. 2004) (“Exceptional circumstances exist where there is ‘a

unique combination of circumstances giving rise to situations that

are out of the ordinary.’” (quoting United States v. DiSomma, 951 F.2d

494, 497 (2d Cir. 1991)).

     Defendant contends that she entered the CHAMPS drug treatment

program in Charlotte, North Carolina, at some point following her release

pending trial. Defendant argues that her detention has disrupted her

participation in the program and her “need for ongoing drug treatment via

the CHAMPS program constitutes an ‘exceptional reason’ under §

3145(c).” Motion, supra, at 2. After considering Defendant’s arguments

and the relevant case law, the Court concludes that her continued




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participation in the CHAMPS program does not represent an exceptional

reason that would support release pending sentencing.

     IT IS, THEREFORE, ORDERED that the Order of Detention filed by

the Magistrate Judge is AFFIRMED, and the Defendant’s appeal of that

order is DENIED.

                                   Signed: March 16, 2009




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